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United States District Court
District of Massachusetts

 

Steven Sandoe,
Plaintiff,

Civil Action No.
v. 18-11826-NMG
Boston Scientific Corporation,

Defendant.

Oe al

 

MEMORANDUM & ORDER
GORTON, J.

The parties’ joint motion to schedule a hearing on all
pending motions for October 17, 2019 at 3:00 P.M. (Docket Entry
No. 113) is ALLOWED, in part, and DENIED, in part. The hearing
on October 17 will be devoted to plaintiff's pending motion for
class certification (Docket Entry No. 39). The parties will
have 20 minutes each to argue their respective positions and 10
minutes each for rebuttal. To the extent counsel wish to
allocate some of their assigned time to other pending motions,
they may do so but the Court is primarily concerned with the
certification question at this time.

So ordered.

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Nathaniel M. Gortdn
United States District Judge

Dated October.$, 2019
